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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHERWOOD DEJOIE                   :              CIVIL ACTION
             Plaintiff,           :
                                  :
     v.                           :
                                  :              NO. 16-cv-02164-JLS
BAYVIEW LOAN SERVICING, LLC, et al:
               Defendants.        :

                                        ORDER

       AND NOW, TO WIT: this 31st day of March, 2017, it having been reported that

the issues between PLAINTIFF and EXPERIAN INFORMATION SOLUTIONS,

INC. in the above action have been settled and upon Order of the Court pursuant to the

provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court (effective

January 1, 1970), it is ORDERED that the above action is DISMISSED with prejudice,

as to EXPERIAN INFORMATION SOLUTIONS, INC., pursuant to agreement of

counsel.



                                              BY THE COURT:




                                               s/Richard A. Lloret
                                              RICHARD A. LLORET
                                              UNITED STATES MAGISTRATE JUDGE
